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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


 martFIVE, LLC, a Minnesota                           CASE NO.
 limited liability company,

                 Plaintiff,

 vs.

 TELEBRANDS CORP., a New
 Jersey corporation,
 and DOES 1 through 11,

                 Defendants.


                     COMPLAINT AND DEMAND FOR JURY TRIAL


       Plaintiff, martFIVE, LLC, (hereinafter “Plaintiff” or “martFIVE”) alleges as

follows for its complaint for damages and injunctive relief against Telebrands Corp. and

Does 1-11 (hereinafter “Telebrands”, “Doe-Defendants” respectively, or “Defendants”

collectively).

                         SUMMARY NATURE OF THE ACTION

       1.        martFIVE is forced to initiate this action to combat the willful and

intentional infringement of its copyrights, trademarks and trade dress, including

Defendant Telebrands’ blatant use of deceptive trade practices in its promotion and sale

of two so-called “knock-off” products, which mimic Plaintiff’s products; a cane called

the HURRYCANE® and a line of plush children’s toys called Stuffies®.

       2.        Defendants developed, and currently market and sell their deceptively



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similar, copied products across the United States through intentionally and substantially

similar advertising content and videos, broadcast on television commercials and various

websites developed and operated by Defendants, including www.trustycane.com,

www.pocketpals.com and www.buypocketpets.com.

       3.     Telebrands’ contemptible strategy to usurp others’ intellectual property

rights and asset values has been prevalent for years. It waits for an entrepreneur to

develop a new product, invest millions of dollars in R&D, product refinements and

related media spending, to generate initial consumer awareness and create product

demand. Once the original product establishes market success, Telebrands develops a

low-quality, cheaply-priced knock-off product which is identical in design and attributes.

It then intentionally mimics the creative marketing campaign with the original product’s

“look & feel”, thereby converting the original product’s identity, advertising campaign,

brand, goodwill, consumer awareness and ultimately the same market share. This creates

consumer confusion, resulting in consumers purchasing Telebrands’ low quality

products, leaving consumers frustrated and causing irreparable damage to the original,

successful product’s brand and company.

       4.     Defendant Telebrands is no stranger to infringement, unfair competition

and deceptive trade lawsuits. Indeed, Plaintiff is aware of over thirty (30) distinct federal

lawsuits since 1990 alleging intellectual property infringement and related claims against

Telebrands and/or its principal, Ajit “A.J.” Khubani, as defendants. (See ECF Case

Spreadsheet, attached hereto as Exhibit A). As a result, A.J. Khubani, is infamously

known as the “Knock Off King” within the infomercial advertising industry.



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       5.     In fact, as recently as last year, Telebrands defended a lawsuit in this very

district which also alleged infringement of copyrights, trademarks, trade dress and other

unfair competition, false designation and deceptive trade practice claims, in My Pillow,

Inc. v. Telebrands, Inc., et al, Case # 12-cv-00389-JRT-JJK.

       6.     Even the U.S. Federal Trade Commission has compelled Telebrands to

agree to pay seven million dollars ($7,000,000) and enter into a Stipulated Judgment for

its deceptive advertising, related to another of Telebrands’ products, in December 2008.

See http://www.ftc.gov/opa/2009/01/telebrands.shtm.

       7.     This lawsuit is unfortunately, but perhaps not surprisingly, remarkably

similar to the scores of lawsuits which have been filed against Telebrands repeatedly, by

many legitimate businesses, year after year.

       8.     Simply put, Telebrands has copied Plaintiff martFIVE’s video advertising,

websites, and products, including the entire “look and feel” and material elements of

Plaintiff’s very expensively-developed and refined, protected intellectual property and

content. Telebrands’ intentionally produces, broadcasts and posts its infringing content

and advertising in the same manner as martFIVE -- on television and the internet --

trading off Plaintiff’s intellectual property rights and goodwill, to promote and sell

considerably inferior products called the “Trusty Cane”, “Pocket Pets” and/or “Pocket

Pals” at a fraction of the price of martFIVE’s similar products.

       9.     Telebrands’ blatant rip-off of martFIVE’s video advertising, website

content and product lines has caused, and will continue to cause, substantial consumer

confusion and deception in the marketplace, resulting in calls and confusion regarding the



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copied advertising campaigns and knock-off products.

      10.    This ongoing consumer confusion is causing substantial, ongoing and

escalating economic and reputational injury to martFIVE. Unless stopped immediately, it

will destroy martFIVE’s intellectual property rights, its goodwill and thereby threaten

martFIVE’s survival; a good corporate citizen and employer of nearly 150 people

directly and indirectly in and around the Twin Cities metropolitan area.

      11.    Telebrands is marketing, promoting, advertising, offering for sale and

selling its infringing products through deliberately similar and infringing content in its

advertisements, which has been and continues to be duplicated and distributed through

television video broadcasts and internet websites, which are derivative of, substantially

similar to, trading off and infringing, martFIVE’s advertising content, which martFIVE

also distributes thorough its own television broadcasts and internet website

advertisements.

      12.    Telebrands’ use of substantially similar content in its advertisements and

choices of media distribution channels, promoting and selling its far inferior knock-off

products in commerce infringes martFIVE’s registered copyrights and trademarks. In

addition, Telebrands’ conduct constitutes trade dress infringement, unfair competition

and false advertising under the federal Lanham Act 15 U.S.C. § 1125(a), and violates

Minnesota’s Unlawful Trade Practices statutes and Deceptive Trade Practices Act, Minn.

Stat. §§ 325D.09-16 and 325D.43-48, respectively.

       13.   Plaintiff martFIVE seeks a temporary restraining order, preliminary

injunction, permanent injunction, statutory or actual damages, an award of costs and



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attorneys’ fees, and other relief, as provided by the various, applicable federal and state

statutes, against all Defendants who are participating with and thereby assisting

Telebrands in its ongoing, illegitimate business practices.

                                        PARTIES

       14.    Plaintiff martFIVE is a Minnesota limited liability company in good

standing, with its principal offices located in Hennepin County, Minnesota. It does

business in the State of Minnesota.

       15.    Defendant Telebrands is a New Jersey corporation with its principal offices

located at 79 Two Bridges Road, Fairfield, New Jersey 07004. Telebrands engages in

substantial catalogue, retail, online and television sales via infomercials and websites

across the nation and in the State of Minnesota.

       16.    Plaintiff is currently ignorant of the true names and identities of the

additional Defendants sued herein by the fictitious designation Does 1 through 11,

inclusive, and therefore sues these Defendants by said fictitious designations (“Doe-

Defendants”). Plaintiff will seek leave of Court to amend this Complaint to insert their

true names and capacities upon discovery.

       17.    Based upon further information and belief, Plaintiff alleges that each of the

fictitiously-named Doe-Defendants herein is responsible in some manner and to some

degree, whether contributorily, vicariously, intentionally or otherwise for the injuries,

acts and damages hereinafter alleged, and at all times material herein, each of the

fictitiously-named Doe-Defendants was the partner, joint venturer, co-conspirator,

proprietor, proponent, principal, agent or employee of one or more, or each, of the



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remaining Defendants, and was also acting within the course, scope and purpose of said

partnership, joint venture, conspiracy, service, proprietorship, agency or employment.

       18.    All Defendants are jointly and severally liable for the actions of each of the

other Defendants.

                                JURISDICTION AND VENUE

       19.    This Court has federal subject matter jurisdiction under the copyright laws

of the United States, 17 U.S.C. §§ 101, et seq. and the Lanham Act 15 U.S.C. §§ 1051 et.

seq. Jurisdiction is conferred under 17 U.S.C. § 501, 28 U.S.C. §§ 1331, 1338(a) and

1338(b) and 15 U.S.C. § 1121.

       20.    This Court also has jurisdiction over the subject matter of this action

pursuant to 28 U.S.C. § 1332(a) because this civil action is between citizens of different

States and the amount in controversy exceeds $75,000, exclusive of interest and costs.

       21.    This action is also based upon state laws protecting against trademark and

trade dress infringement, unfair competition and deceptive trade practices. This Court

has jurisdiction over the state claims pursuant to 28 U.S.C. § 1338(b). This Court also

has jurisdiction over the state claims under 28 U.S.C. § 1367(a) and the doctrine of

pendent jurisdiction.

       22.    This Court has personal jurisdiction over Defendants, since each is engaged

in substantial business and/or has committed statutory violations and/or tortious acts

within this judicial district. Specifically, upon information and belief, the Defendants

operate and maintain business operations which identify, develop, import, produce,

advertise, market, promote, offer for sale and sell infringing products through use of



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deceptive, unfair and infringing content on television and the Internet to residents of

Minnesota in a manner that infringes on Plaintiff’s copyrights, trademarks and trade dress

and also constitutes unfair competition and false advertising. Consumers within this

judicial district have, in fact, been confused by the substantial similarities of Defendant’s

advertising for its cane product to those of martFIVE, and reported same in this district.

       23.     Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(c) because

Defendants are subject to personal jurisdiction in this judicial district, and a substantial

part of the events or omissions giving rise to the claim occurred, and the irreparable harm

being suffered is in, this judicial district.

                              FACTS COMMON TO ALL COUNTS

                                          Plaintiff’s Business

       24.     martFIVE is a Minnesota-based company, designed to prove both ethical

business leadership and cause-based marketing can and should co-exist within mass

consumer marketing enterprises. Its reputation is stellar with charities, consumers and

industry partners of all types. As a result, martFIVE’s vision to “change people’s lives”

is well on its way to reality, positively impacting the lives of thousands in Minnesota and

nationwide.

       25.     The HURRYCANE® was created to support the critical importance of

using an assistive device when mobility loss occurs for individuals. Embarrassment is a

primary reason of non-compliance to walking cane use, often resulting in falls and

serious injury. The HurryCane was designed to inspire use, in a category where the cane

options with greater stability have been deemed “ugly” and embarrassing.



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       26.    Substantial support for veterans motivated martFIVE’s decision to

manufacture the HURRYCANE® in the United States. Over $750,000 in research and

development has already been invested by Plaintiff to make that happen. The goal is to

fully inspire users with a made-in-America product, which supports significant

manufacturing work for U.S. workers. And it's the only cane endorsed by the Arthritis

Foundation of America.

       27.    Stuffies® are a line of children’s plush toys, carefully crafted to stimulate

independent play, while forming values-based bonds with children. Stuffies’® tagline of

"It's What's Inside That Counts", and their personalized story books for each character,

have become popular with parents, grandparents, and children alike. Though in demand

by mass retailers, the brand is carried by local retailers where the economic impact is

greater.

       28.    The Stuffies® line has won multiple parenting awards, while supporting

dozens of children's causes, including major support for the Toy Bank, cancer causes, and

foster homes. They are a clear force for good in the toy industry.

                         Plaintiff’s Protected Intellectual Properties

                                       HURRYCANE®

Copyrights:

       29.    Plaintiff martFIVE determined the best way to market its HURRYCANE®

product was by making direct sales to consumers through internet and television

promotion, or what is commonly referred to as “As Seen On TV” advertising.

Accordingly, Plaintiff produced video content for a commercial to be broadcast on



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television and internet websites, including, but not limited to, one-minute videos of its

products in a “call to action” format. The HURRYCANE® commercials are entitled

“The Cane That Stands Alone", "More Than A Stick" and "Fastest Selling".

       30.    Prior to filing this Complaint, Plaintiff applied for United States copyright

registrations for its HURRYCANE® video commercials entitled “The Cane That Stands

Alone", "More Than A Stick" and "Fastest Selling" on May 17, 2013. The applications

for these video commercials are pending. Plaintiff will seek to amend this Complaint to

include the official copyright registration information for these commercials, upon issue

from the U.S. Copyright Office.

       31.    martFIVE began airing the HURRYCANE® commercials on television,

virtually throughout the United States, on or about June 7, 2011, and began using the

commercials on the home page of its website around the same timeframe.

       32.    martFIVE also independently created its original website copy and content,

to express its unique ideas surrounding its HURRYCANE® product.                         Its

HURRYCANE® website content was registered with the U.S. Copyright Office on

05/17/2013.

Trademarks:

       33.    martFIVE’s HURRYCANE product enjoys federal trademark protection,

after applying for and receiving three (3) distinct United States Patent and Trademark

Office registrations.

       34.    It   holds   registered   rights   for   the   standard    character   mark

“HURRYCANE”® which was issued on November 13, 2012 as United States Trademark



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Registration # 4,243,464.

       35.    martFIVE also holds registered rights for the mark “TheHurryCane.com”®

which was issued on February 5, 2013 as United States Trademark Registration #

4,286,043.

       36.    And finally, Plaintiff holds registered rights for the mark “HURRYCANE

The all-terrain cane.” ®, including its stylized design, which includes an image of the

cane, issued on August 14, 2012 as United States Trademark Registration # 4,191,792.

       37.     Plaintiff holds these registrations as well all rights to the indicated marks.

Attached hereto as Exhibits B, C & D are copies of martFIVE’s Certificates of

Trademark Registration, related to its HURRYCANE® product line.

                                             Stuffies®

Copyrights:

       38.    Plaintiff martFIVE also markets and sells its Stuffies® plush toy product

line by broadcasting advertising videos on television and through various internet

websites, making direct sales to consumers through both methods.              Plaintiff   has

produced its Stuffies® video commercials as one-minute videos, demonstrating the fun

and interesting designs of its Stuffies® products, also in a “call to action” format, entitled

“How Much Stuff” and "What's In Your Stuffie".

       39.    Plaintiff applied for United States copyright registrations for its Stuffies®

“How Much Stuff” and "What's In Your Stuffie" video commercials on May 17, 2013.

These applications are also pending. Plaintiff will seek to amend this Complaint to

include the official copyright registration information for the commercials, upon issue



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from the U.S. Copyright Office.

      40.     martFIVE began airing its Stuffies® commercials on television, virtually

throughout the United States, on or about November 1, 2011 and began using the

commercials on the home page of its website as of the same date.

      41.     martFIVE also applied for copyright registrations on the designs of its

plush toy Stuffies® line of products on May 17, 2013. Those applications are pending.

Plaintiff will amend this Complaint to include copyright registration information for the

Stuffies® designs, and any other copyright registrations it receives, once they are issued

by the U.S. Copyright Office.

      42.     martFIVE also independently created its original Stuffies® website copy

and content, to express its unique ideas surrounding its Stuffies® product line. Its

Stuffies® website content was registered with the U.S. Copyright Office on 05/17/2013.

      43.     martFIVE owns the copyrights for all of its videos, website content and

plush toy design works it produced itself or under work-for-hire contracts, whether

registered or unregistered with the U.S. Copyright Office, and whether these works have

been created or will be further developed or derived by martFIVE or its affiliates in the

future (“Copyrighted Works”), including without limitation all copyrights indicated

above, and has the exclusive right to reproduce, prepare derivative works, distribute,

publicly perform and publicly display them in the United States and abroad.

Trademarks:

      44.     martFIVE’s Stuffies® product line also enjoys federal trademark

protection, with two (2) distinct United States        Patent and Trademark        Office



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registrations.

       45.       It holds registered rights for the standard character mark “Stuffies”® which

was issued on February 5, 2012 as United States Trademark Registration # 4,286,271.

       46.        martFIVE also holds registered rights for the mark “It’s what’s inside that

counts!”® which was issued on February 5, 2012                 as United States Trademark

Registration #4,286,272.

       47.       Plaintiff holds these registrations as well all rights to the indicated marks.

Attached as Exhibits        E & F are copies of martFIVE’s Certificates of Trademark

Registration, related to its Stuffies® product line.

                                   Telebrands’ Illegal Acts

       48.       Telebrands’ infringement and deceptive business practices are clear when

one considers the nearly infinite number of design combinations and functions available

for production choices within both the toy and walking cane spaces.

       49.       To illustrate, Telebrands intentionally copied Stuffies’® 7-pockets design,

situating each pocket of their knock-off plush toys in the same place as Stuffies®, when

Telebrands could have considered and designed any number of other combinations.

martFIVE         evaluated hundreds of animal designs, but Telebrands carefully copied

martFIVE’s exact animals.

       50.       Similarly, Telebrands also could have chosen to innovate in the walking

cane space, but instead deliberately chose the exact mix and features and design elements

found in the HURRYCANE®.

       51.       Perhaps most tellingly, with Telebrands’ 20-plus years of advertising



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experience, to develop advertising spots that obviously copy martFIVE’s talent casting,

content and execution is not the result of coincidence, it is the result of Telebrands’

deceitful understanding of the millions of dollars in goodwill established through a multi-

year, multi-million dollar testing program, now copied and destroyed by their deliberate

acts.

                    Copyright Infringement of the Stuffies® product designs

         52.   martFIVE’s copyrighted designs in its Stuffies® line of products have been

infringed by Telebrands and the Doe-Defendants, through the unauthorized acts of

creating, reproducing, manufacturing, importing, distributing and making derivative

works of martFIVE’s copyrighted works. The images below demonstrate the similarities

of Plaintiff’s Stuffies® line, to the later-created, infringing works of Telebrands’ Pocket

Pals and Pocket Pets line of products:




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       Copyright Infringement of the Stuffies® Advertisements and Marketing Copy

       53.     Similarly, martFIVE’s copyrighted content in its advertising videos for its

Stuffies® line of products have been infringed by Telebrands and the Doe-Defendants,

through their unauthorized acts of creating, reproducing, manufacturing, importing,

distributing and making derivative works of martFIVE’s copyrighted works. The images

below demonstrate the similarities of Plaintiff’s Stuffies® advertising videos, to the later-

created, infringing works of Telebrands’ advertising videos for their Pocket Pals and

Pocket Pets:



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        Copyright Infringement In the HURRYCANE® Advertisements

        54.   Similarly, martFIVE’s copyrighted content in its advertising videos for its

HURRYCANE® products have been infringed by Telebrands and the Doe-Defendants,

through their unauthorized acts of creating, reproducing, manufacturing, importing,

distributing and making derivative works of martFIVE’s copyrighted works. The images

below demonstrate the similarities of Plaintiff’s HURRYCANE® advertising videos, to

the later-created, infringing works of Telebrands’ advertising videos for their Trusty

Cane:




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       Substantial Similarities of Trademark/Trade Dress in the Advertisements

       55.    On or about April 8, 2013 well after martFIVE’s commercials began to

air on television and on its websites, and with actual knowledge of martFIVE, its

products, trademarks, design patent as well as its copyright-protected product design,

television and internet advertising, Telebrands caused advertisements to be produced and

began to publically broadcast and make available one or more advertising spots with the

intentionally-same look and feel, for both of its virtually identical, knock-off, yet inferior,

products called the “Trusty Cane and “Pocket Pets” and/or “Pocket Pals”.

       56.    Telebrands offers its Trusty Cane product for sale at $19.99 for the first

cane, plus 7.99 S&H, then $12.99 for 2nd cane; dramatically below martFIVE’s

advertised price of $39.95 for a single cane.

       57.    Telebrands offers its Pocket Pets/Pocket Pals products for sale at $19.99

each, which is also dramatically below martFIVE’s advertised price of $29.95 for each

Stuffies® toy.

       58.    Telebrands’ knock off television advertisements are also available on its

websites www.TrustyCane.com, www.PocketPals.com and www.BuypocketPets.com. Each of these

websites also host videos and contain advertising copy which were derived from, share

substantial similarities with, and infringe martFIVE’s copyrighted advertisements.

       59.    A sample of the most glaring features of Telebrands’ knock off

advertisements related to martFIVE’s HURRYCANE® vs. Telebrands’ The Trusty Cane

are compared below:


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                HURRYCANE                                 TRUSTY CANE
Shows the subject cane being folded up and Focuses on the tri-fold design and shows
snapped back out multiple times            the subject cane being folded up and
                                           snapped back out multiple times
Displays the pivoting base with two blue   Displays the pivoting head with two green
arrows going around it to demonstrate 360 arrows going around it to demonstrate 360
degree rotation                            degree rotation
Shows a man in a dark suit dropping other Shows a man in a dark suit dropping
canes and the subject cane left standing   another cane and the subject cane left
alone                                      standing alone
Shows an elderly lady shopping at a        Shows an elderly lady shopping at a bakery
grocery store and leaving the subject cane and leaving the subject cane standing up
standing up while getting an item          while getting an item
Shows different surfaces the subject cane  Shows different surfaces the subject cane
will work on (sand, gravel, snow)          will work on (sand, gravel, snow & grass)
The website address is advertised as       The website address is advertised as
HurryCane.com with a capital “H” and “C” TrustyCane.com with a capital “T” and “C”
and scrolling advertisements on the main   and scrolling advertisements on the main
page                                       page


      60.    A sample of the most glaring features of Telebrands’ knock off

advertisements related to martFIVE’s Stuffies® vs. Telebrands’ Pocket Pals/Pets are

compared below:

                  STUFFIES®                                 POCKET PALS/PETS
Shows various small children putting items     Shows various small children putting items
into the stomach, legs and mouth of the toy,   into the stomach, legs and mouth of the toy,
with a girl stating that “My Stuffie keeps     with a girl stating that “It keeps my secret
my candy from my brother”                      stuff safe”
Showing multiple kids putting a lot of         Showing multiple kids putting a lot of
items inside of the toy and asks “How          items inside of the toy and asks “Who can
much stuff can you stuff in a Stuffie till     fit most inside stuff inside them?”
your Stuffies stuffed enough stuff”
Free story book and mystery gift inside        Comes with surprise toy inside
Main webpage shows a child hugging a           Main webpage page shows a child hugging
turtle version of the toy at the bottom        a turtle version of the subject toy
Main webpage shows all of the different        Main webpage shows all of the different
animal versions of the toy with a dog          animal versions of the toy with a dog
version as first toy                           version as first toy



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7 pockets in each toy, located in the mouth,    7 pockets in each toy, located in the mouth,
tongue, body and on each leg                    tongue, body and on each leg


       61.       On information and belief, Telebrands had access to and had actual

knowledge of martFIVE, martFIVE’s products and designs, martFIVE’s trademarks, and

martFIVE’s video commercials, aired on both television and websites. In a flagrant and

oft-repeated series of decisions and acts, Telebrands and the Doe-Defendants decided to

copy martFIVE’s protected properties for financial gain by trading upon, copying,

marketing, manufacturing and distributing substantially similar advertising and products,

in Telebrands’ intentional attempt to knock them off.

       62.       Based upon information and belief, Telebrands’ ads for its products have

aired, been distributed and disseminated in the same markets for martFIVE’s products.

       63.       Through their advertising campaigns, Telebrands and its agents,

representatives, and authorized affiliates have directed customers to websites developed

and controlled by Telebrands, located at www.TrustyCane.com, www.PocketPets.com and

www.BuypocketPets.com.      Those websites, in turn, display Telebrands’ knock off

advertisements and offer the infringing or substantially similar products for sale, through

the intentional use of substantially similar advertisements in their presentation, content,

look and feel.

       64.       martFIVE’s offices have received inquiries and calls from concerned

persons and consumers, who had confused Telebrands’ products and advertising with

those of martFIVE.

       65.       This consumer confusion and deception creates and unfair and misleading



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impression that Telebrands’ inferior knock off products of are the same as martFIVE’s

product, or comes from martFIVE or a source affiliated with it. This deliberate falsehood

was created by Telebrands and the Doe-Defendants to brazenly and intentionally take

unfair advantage of the popularity and goodwill of martFIVE’s HURRYCANE® and

Stuffies® brands, products and marketing campaigns.

        66.    Based upon information and belief, martFIVE has lost and will continue to

lose    substantial sales, revenues and consumer confidence in its quality products.

Telebrands has enjoyed, and unless enjoined, will continue to enjoy, substantial wrongful

gains and other benefits, as a result of Telebrands’ illegal conduct. Such illegal conduct

includes, but is not limited to, Telebrands’ advertising, marketing, promotion, offering for

sale, and sale of an inferior but same type of product through confusingly similar

advertisements being delivered through the exact same media and sales outlets:

television, Internet, retail and catalogue sales.

                   Telebrands’ Modus Operandi: the “Knock Off King”

        67.    Telebrands’ principal A.J. Khubani has gained notoriety as the reputed

“Knock Off King” of the infomercial advertising industry. Telebrands has a long and

sordid history of intellectual property infringement and is well-known as a hardened,

serial, repeat infringer.

        68.    For the last twenty years, its modus operandi has been to identify a new

product invented by another which is being sold on TV or at retail, fabricate a knock-off

version of that product, infiltrate the market with its knock-off product and advertise it

with a look-alike broadcast video commercial, and substantially-similar website content,


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then make the products available at retail locations and through the Internet and

catalogues, merely to create consumer confusion and usurp sales and revenues from the

original, authentic product(s).

       69.      As public records reveal, Telebrands has been sued numerous times for this

repeated “business model”. 1      martFIVE is simply Telebrand’s latest victim—one in a

long string of such victims.

       70.      In fact, even the U.S. Government has had concerns about Telebrands’

business and marketing practice. In December 2008, Telebrands agreed to pay $7 million

and enter into a Stipulated Judgment with the Federal Trade Commission for deceptive

advertising with respect to one of its knock off products. The settlement came after the

Fourth Circuit Court of Appeals, in Telebrands Corp. v. FTC, 457 F.3d 354 (2006),

affirmed an Administrative Law Judge’s imposition of the following injunction on

Telebrands:


       [Telebrands] . . . in connection with the manufacturing, labeling, advertising,

       1
           My Pillow, Inc. v. Telebrands, Inc., et al, 12-cv-00389-JRT-JJK (D.Minn. 2012);
Edmark Industries v. Telebrands Corp., et al., 96-cv-04067 (C.D. Cal. 1996); Welcome
Co. Ltd. v. Telebrands Corp, et al., 2:97-cv-09379 (C.D. Cal. 1997); Bragel International
Inc. v. Telebrands Corp., 05-cv-01141 (C.D. Cal. 2005); Peticure LLC v. Telebrands
Corp., 08-cv-00345 (E.D. Tex. 2008); Meyer Manufacturing Co. v. Telebrands Corp.,
11-cv-03153 (E.D. Cal. 2011); Ymax Corp. v. Telebrands Corp., 08-cv-03307 (D. NJ
2008); Galant v. Telebrands Corp., 35 F. Supp. 2d 378, 393-94 (D. N.J. 1998); Carson
Optical, Inc. v. Telebrands Corp. et al, 07-cv-08020 (D. N.J. 2007); Milestone Scientific
Inc. et al v. Telebrands Corp., 05-cv-03706 (S.D. NY 2005).




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promotion, offering for sale, sale, or distribution of Ab Force, any other EMS device, or
any food, drug, dietary supplement, device, or any other product, service or program,
shall not make any representation, in any manner, expressly or by implication, about
weight, inch, or fat loss, muscle definition, exercise benefits, or the health benefits,
safety, performance, or efficacy of any product, service, or program, unless, at the time
the representation is made, [Telebrands] possess[es] and rel[ies] upon competent and
reliable evidence, which when appropriate must be competent and reliable scientific
evidence, that substantiates the representation.

       71.     As the allegations in this Complaint demonstrate, Telebrands is continuing

to make false or misleading representations about the origin and benefits of its products.

       72.     Telebrands’ products and advertising are nothing more than inferior knock

offs of martFIVE’s HURRYCANE® and Stuffies® product lines and campaigns.


                        COUNT I – COPYRIGHT INFRINGEMENT

                    PURSUANT TO 17 U.S.C. §§ 101 AND 501, ET SEQ.

       73.     martFIVE re-alleges and incorporates by reference as though set forth in

full the allegations contained in the paragraphs above.

       74.     martFIVE is the owner of the Copyrighted Works and has the exclusive

right to reproduce, prepare derivative works, distribute, publicly perform and publicly

display the Copyrighted Works in the United States.

       75.     Defendants have infringed martFIVE’s exclusive copyrights, including the

rights of reproduction, distribution, creating derivatives, public performance and/or

public display, in violation of Sections 106 and 501 of the Copyright Act, 17 U.S.C. §§

106 and 501.

       76.     Defendants’ acts have been deliberate, willful, intentional and purposeful,

in reckless disregard of and with indifference to martFIVE’s rights.


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          77.   As a direct and proximate result of Defendants’ forgoing acts and conduct,

martFIVE has sustained and will continue to sustain irreparable injury for which there is

no adequate remedy at law. Unless enjoined and restrained by this Court, Defendants

will continue to infringe martFIVE’s Copyrighted Works.            Plaintiff is entitled to

injunctive relief pursuant to 17 U.S.C. § 502.


                        COUNT II - TRADEMARK INFRINGEMENT

                  PURSUANT TO 15 U.S.C. § 1114 AND 15 U.S.C. § 1125(A)

          78.   martFIVE re-alleges and incorporates by reference as though set forth in

full the allegations contained in the paragraphs above.

          79.   martFIVE is    the   owner of     United States Trademark Registrations

#4,243,464, #4,286,043, #4,191,792, #4,286,271, #4,286,272.

          80.   Defendants have used in commerce in the United States one or more of the

same mark(s) or confusingly similar marks, to identify their products, in such a manner as

to cause and to result in a likelihood of confusion, as well as, on information and

belief,    and actual confusion, as to the source, origin, or affiliation of martFIVE’s

products and/or Defendants' products.

          81.   Defendants are not authorized or licensed by martFIVE to advertise,

market, promote, offer for sale or sell programming under or in connection with

martFIVE’s marks.

          82.   Defendants’ conduct is likely to confuse, mislead and deceive members of

the public as to the origin of Telebrands’ goods or services, or otherwise cause the public




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to believe Telebrands is an authorized distributor of martFIVE’s products.

       83.    Defendants’ conduct constitutes infringement in violation of section 32 of

the Lanham Act, 15 U.S.C. § 1114, and section 43(a) of the Lanham Act, 15 U.S.C.

§ 1125(a), to the substantial and irreparable injury of the public and of martFIVE’s

business reputation and goodwill.

       84.    Defendants’ acts have been deliberate, willful, intentional and purposeful,

in reckless disregard of and with indifference to martFIVE’s rights.

       85.    As a direct and proximate result of Defendants’ forgoing acts and conduct,

martFIVE has sustained and will continue to sustain irreparable injury for which there is

no adequate remedy at law. Unless enjoined and restrained by this Court, Defendants

will continue to infringe martFIVE’s trademarks. Accordingly, this Court should enjoin

and restrain Defendants from committing any further such acts.

             COUNT III – COMMON LAW TRADEMARK INFRINGEMENT

       86.        martFIVE re-alleges and incorporates by reference as though set forth

in full the allegations contained in the paragraphs above.

       87.    Defendants’ conduct constitutes infringement of martFIVE’s common law

trademark rights to the substantial and irreparable injury of the public and martFIVE’s

business reputation and goodwill.

       88.    Defendants’ acts have been deliberate, willful, intentional and purposeful,

in reckless disregard of and with indifference to martFIVE’s rights.

       89.    As a direct and proximate result of Defendants’ forgoing acts and conduct,

martFIVE has sustained and will continue to sustain irreparable injury for which there is



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no adequate remedy at law. Unless enjoined and restrained by this Court, Defendants

will continue to infringe martFIVE’s trademarks. Accordingly, this Court should enjoin

and restrain Defendants from committing any further such acts.


                      COUNT IV – TRADE DRESS INFRINGEMENT

         90.   martFIVE re-alleges and incorporates by reference as though set forth in

full the allegations contained in the paragraphs above.

         91.   martFIVE is the owner of common law rights throughout the United States

in the HURRYCANE’s® and Stuffies’® trade dress through martFIVE’s use and

promotion in interstate commerce.

         92.   The HURRYCANE’s® and Stuffies’® trade dress is well known among

consumers and has come to be associated exclusively with martFIVE.

         93.   The HURRYCANE’s® and Stuffies’® trade dress was distinctive long

before Defendants began offering its inferior “knock off” version of their products for

sale.

         94.   The HURRYCANE’s® and Stuffies’® trade dress is non-functional.

         95.   Defendants’ unauthorized use, sale, and distribution of its copies of

martFIVE’s products is likely to cause confusion, to cause mistake, or to deceive as to the

source, affiliation, connection, association, sponsorship, or approval of Defendants’ copy

of the martFIVE products.

         96.   Defendants’ unauthorized use, sale, and distribution of Defendants’ copy of

martFIVE’s products constitute trade dress infringement in violation of Section 43(a) of




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the Lanham Act, 15 U.S.C. §1125(a).

          97.    Defendants’ infringement of martFIVE’s trade dress has been and

continues to be intentional, willful, and without regard to martFIVE’s rights.

          98.    Defendants have gained profits by virtue of their infringement of

martFIVE’s trade dress rights.

          99.    martFIVE also has sustained damages as a direct and proximate result of

Defendants’ infringement of martFIVE’s trade dress rights, in an amount to be proven at

trial.

          100.   Under 15 U.S.C. §1116, martFIVE is entitled to an injunction against

Defendants’ continuing infringement of martFIVE’s trade dress rights. Unless enjoined

and restrained by this Court, Defendants will continue to cause martFIVE great and

irreparable injury that cannot fully be compensated or measured in money. martFIVE has

no adequate remedy at law.

          101.   Because Defendants’ actions have been committed with intent to damage

martFIVE and to confuse and deceive the public, martFIVE is entitled to treble its actual

damages or Defendants’ profits, whichever is greater, and to an award of costs and, this

being an exceptional case, reasonable attorneys’ fees under 15 U.S.C. §1117(a) and (b).


                       COUNT V – UNFAIR COMPETITION AND

                 FALSE DESIGNATION OF ORIGIN 15 U.S.C. §1125(A)

          102.   martFIVE re-alleges and incorporates by reference as though set forth in

full the allegations contained in the paragraphs above.




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       103.   The Copyrighted Works which Defendants are falsely reproducing,

distributing, publicly performing and/or publicly displaying indicate that Telebrands is

authorized to reproduce, distribute, publicly perform and/or publicly display the

Copyrighted Works.

       104.   Upon information and belief, Defendants have used and are continuing to

use forms of false designations of origin and false descriptions which tend to falsely

describe or represent such goods and have caused such goods to enter into commerce

with full knowledge of the falsity of such designation of origin.

       105.   Defendants have and continue to misrepresent to members of the

consuming public that the Copyrighted Works being reproduced, distributed publicly

performed and/or publicly displayed are genuine, non-infringing products.

       106.   Defendants’ advertising, promotion, marketing, offer for sale and sale of

goods and services bearing martFIVE’s trademarks and trade dress is likely to confuse,

mislead and deceive the public as to the origin, sponsorship or approval of Telebrands’

goods and services, or to cause the public to falsely believe that Telebrands is authorized

to advertise, market, promote, offer for sale and sell goods and services bearing

martFIVE’s trademark and Trade Dress.

       107.   Defendants’ actions constitute unfair competition, false advertising, false

designation of origin and/or false or misleading description of fact, in violation of section

43(a) of the Lanham Act, 15 U.S.C. §1125(a).

       108.   Defendants’ acts have been deliberate, willful, intentional and purposeful,

in reckless disregard of and with indifference to martFIVE’s rights.



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       109.    As a direct and proximate result of Defendants’ forgoing acts and conduct,

martFIVE has sustained and will continue to sustain irreparable injury for which there is

no adequate remedy at law. Unless enjoined and restrained by this Court, Defendants

will continue to infringe martFIVE’s copyrights and trademarks. Accordingly, the Court

should enjoin and restrain Defendants from committing any further such acts.

              COUNT VI – MINNESOTA UNFAIR COMPETITION LAW

       110.    martFIVE re-alleges and incorporates by reference as though set forth in

full the allegations contained in the paragraphs above.

       111.    This cause of action arises under Minnesota's law of trademark

infringement and unfair competition.

       112.    Defendants' activities     complained of        constitute   infringement

of martFIVE’s common law rights in the State of Minnesota, and unfair competition.

       113.    Plaintiff has been damaged by the actions of Defendants in an amount

which will be proven at trial.

       114.    If the acts of Defendants are allowed to continue, martFIVE will continue

to suffer irreparable injury for which it has no adequate remedy at law.


                      COUNT VII – MINNESOTA DECEPTIVE AND

                                 UNLAWFUL TRADE PRACTICES

       115.    martFIVE re-alleges and incorporates by reference as though set forth in

full the allegations contained in the paragraphs above.

       116.    This cause of action arises under the Minnesota Deceptive Trade Practices




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Act, Minn. Stat. §§ 325D.09 et seq. and 325D.43 et seq.

       117.    Defendants' activities complained of constitute violations of the Minnesota

Deceptive Trade Practices Act, Minn. Stat. §§ 325D.09 et seq. and 325D.43 et seq.

       118.    If the acts of Defendants are allowed to continue, martFIVE will continue

to suffer irreparable injury for which it has no adequate remedy at law.


                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment as follows:

       1.      That judgment be entered for Plaintiff and against Defendants on each of

Plaintiff’s claims for relief;

       2.      For a temporary restraining order, preliminary and permanent injunction

that Defendants and their agents, servants, employees, attorneys and those acting in

concert or participation with any of them:

               i.     Delete and disable access to Plaintiff’s Copyrighted Works,

                      including but without limitation, by deleting all copies of Plaintiff’s

                      Copyrighted Works from any database, server, or other storage

                      device owned or controlled by Defendants;

               ii.    Cease and refrain from reproducing, preparing derivative works,

                      distributing, publicly performing, publicly displaying or otherwise

                      infringing Plaintiff’s Copyrighted      Works, including without

                      limitation, ceasing and refraining from transmitting, copying, and/or

                      broadcasting Plaintiff’s Copyrighted Works;



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      iii.    Refrain from using martFIVE’s mark or any other confusingly

              similar mark in connection with the sale, advertisement, marketing

              or promotion of any goods or service or any other similar

              infringement of Plaintiff’s trademark rights;

      iv.     Refrain from engaging in unfair competition by advertising,

              promoting, marketing, selling or offering for sale their goods and

              services or otherwise using martFIVE’s mark and/or trade dress

              in such a way as to mislead, deceive and/or confuse the origin of any

              of Plaintiff’s product;

      v.      Refrain from engaging in any conduct that tends to confuse, mislead

              or deceive members of the public into believing that the Copyrighted

              Works reproduced, distributed, publicly performed and/or publicly

              displayed by Defendants are sponsored, approved or authorized by

              Plaintiff;

      vi.     to recall and deliver up for destruction all advertising, promotional

              or marketing materials or other products that infringe Plaintiff’s

              trademark, trade dress or copyrights.

      vii.    to engage in corrective advertising to dispel the confusion caused by

              Defendants’ wrongful acts; and

      viii.   within thirty days after service of judgment with notice of entry

              thereof upon it, be required to file with the Court and serve upon

              Plaintiff’s attorneys a written report under oath setting forth in detail


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                      the manner in which Defendants have complied with the foregoing

                      paragraphs.

        3.     For maximum statutory damages with respect to each copyrighted work and

trademark and trade dress infringement, or for such other amount as may be proper or,

alternatively, at Plaintiff’s election, full restitution, actual damages suffered as a result of

the infringement, an equitable accounting and disgorgement of all revenues and/or profits

wrongfully derived by Defendants from their copyright, trademark and trade dress

infringement, false designation of origin, false advertising, and unfair competition.

        4.     Any and all damages sustained by Plaintiff resulting from Defendants’

wrongful and infringing acts.

        5.     For Plaintiff’s attorney’s fees and full costs.

        6.     That Plaintiff be awarded enhanced damages against Defendants.

        7.     That this case is exceptional pursuant to 15 U.S.C. § 1117 and 17 U.S.C. §

504.

        8.     That Plaintiff be awarded pre-judgment interest on its judgment.

        9.     For such other and further relief as this court deems just and proper.


                                          JURY DEMAND

        Plaintiff, pursuant to Fed. R. Civ. P. 38(b), demands a trial by jury as to all issues

so triable.




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                                                 HELLMUTH & JOHNSON, PLLC


Date: June 4, 2013.                              sl Russell M. Spence
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                                                 ATTORNEYS FOR PLAINTIFF
                                                 martFIVE, LLC

                                    VERIFICATION

STATE OF MINNESOTA)
                  )ss
COUNTY OF HENNEPIN)

       J. Brent Longval, being duly sworn, deposes and states as follows:

       1.      I am the Chief Financial Officer for martFIVE, LLC and an agent of
Plaintiff for purposes of executing this document.

        2.    I have read the forgoing Complaint and subscribe on behalf of Plaintiff,
noting that this Complaint has been prepared with the assistance of employees and
counsel and on the advice of counsel, and is based upon information obtained from
Plaintiff. The factual allegations in this Complaint are true and correct to the best of my
present knowledge, information and bel~


                                           ~(/
Subscribed and sworn to before me
this L{r.:: day of :]\.)'"""--- , 20 13.

                                                                 COURTNEY IICHEU.£ tWENER
                                                                 NOTARY PUBLIC· MINNESOTA
                                                                 My Commtssoon Expjtes .1111. 31, 201•


Notary Public




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